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                    UNITED STATES DISTRICT COURT
                       DISTRICT OF NEW JERSEY

                                CIVIL ACTION NO.
IN RE: JOHNSON & JOHNSON TALCUM 3:16-md-2738-FLW-LGHG
POWDER PRODUCTS MARKETING,
SALES PRACTICES, AND PRODUCTS   MDL NO. 2738
LIABILITY LITIGATION


THIS DOCUMENT RELATES TO ALL
CASES



   MEMORANDUM IN SUPPORT OF THE PLAINTIFFS’ STEERING
   COMMITTEE’S MOTION FOR ENTRY OF CASE MANAGEMENT
  ORDER 7(A) ESTABLISHING THE TALC (MDL NO. 2738) COMMON
  BENEFIT FEE AND EXPENSE ACCOUNTS TO COMPENSATE AND
    REIMBURSE ATTORNEYS FOR SERVICES PERFORMED AND
       EXPENSES INCURRED FOR CASE ADMINISTRATION
                 AND THE COMMON BENEFIT


      Plaintiffs, by and through the Plaintiffs’ Steering Committee (“PSC”) hereby

submits the following Memorandum of Law in Support of its Motion for Entry of

Case Management Order 7(A) Establishing the Talc (MDL 2738) Common Benefit

Fee and Expense Accounts to Compensate and Reimburse Attorneys for Services

Performed and Expenses Incurred for Case Administration and the Common

Benefit.
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I.      INTRODUCTION

        On October 10, 2016, the Judicial Panel on Multidistrict Litigation (“Panel”)

created this multidistrict litigation (“MDL”). The MDL now involves approximately

17,147 filed cases and it is anticipated that additional cases will be filed directly or

transferred into this MDL. The PSC has worked diligently to create a cohesive,

cooperative team of attorneys from across the nation to prosecute this mass tort

litigation in this MDL and to coordinate with attorneys representing plaintiffs in

various state courts who are litigating cases involving Johnson & Johnson Talcum

Powder products.

        On August 9, 2017, this Court entered Case Management Order No. 7 (“CMO

7”),1 which established standards and procedures for counsel who would be seeking

an award of common benefit fees and reimbursement of common benefit costs for

reporting their time and expenses to the Court appointed auditor, Alan Winikur,

CPA. CMO 7 also provided for the creation of a litigation fund involving PEC and

PSC member firms to which a contribution of money could be made as a litigation

fund account for use in paying the common benefit expenses in this litigation.

        Pursuant to CMO 7, the members of the PEC, PSC and common benefit

attorneys have performed and will continue to perform significant and substantial



1
    ECF. Doc. No. 426.


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services for the common benefit of all plaintiffs. A substantial amount of

administrative, discovery, and expert work has taken place to date with dozens of

cooperating lawyers incurring thousands of hours of time and substantial expenses.

As this case moves into the next phase,2 the common benefit attorneys will continue

to zealously prosecute this case, including the development of additional discovery

and trying bellwether cases, if necessary. This will require the continued investment

of significant resources, including time, effort and money, to prepare for bellwether

trials and develop a Trial Package for remanded cases. CMO 7 states, “[a]t an

appropriate time the Court will establish a mechanism for creating funds for

reimbursing counsel for common benefit costs and awarding common benefit fees.”

To ensure that common benefit attorneys are fairly compensated, this motion seeks

an order supplementing CMO 7 to establish a common benefit assessment for

attorneys’ fees and costs to be assessed against each “Participating Counsel” and

their clients who will receive monetary proceeds in the event her case is resolved

through settlement or judgment.

      A common benefit fund is a judicially-supervised fund that is established to

spread the cost of efforts undertaken by counsel for the benefit of all, among all

2
  On May 15, 2020, the Court entered an Order providing for the next phase of this
case, addressing the random selection of cases to then be reduced to a discovery pool
of cases for a bellwether trial. (ECF. Doc. No. 13317). On May 26, 2020, the Court
entered an additional Order for the implementation of the random selection of cases
to be administered by Special Master Joel Pisano. (ECF. Doc. No. 13428).

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beneficiaries of such efforts. These funds (consisting of money for paying attorneys’

fees and reimbursing expenses–sometimes divided into two separate funds) are

typically established and governed by a common benefit order and are created in

accordance with the century-old common benefit doctrine, which empowers district

courts to apportion fees and costs among all beneficiaries as a matter of federal

equity jurisdiction. Common benefit funds are commonplace in modern multidistrict

litigation. Indeed, every edition of the Federal Judicial Center’s Manual for Complex

Litigation has recommended the creation of both a plaintiff leadership structure and

a mechanism for compensating these appointed counsel (on a contingent basis) for

the work they perform and costs they incur for the benefit of all plaintiffs. See Eldon

E. Fallon, Common Benefit Fees in MDL Cases, 74 La. L. Rev. 323 (2014).

      To date, the members of the Plaintiffs’ Steering Committee (“PSC”) have

already committed substantial time and effort for the benefit of all Plaintiffs. These

efforts include drafting and filing a Master Complaint (with a corresponding Short

Form Complaint); conducting extensive legal research; establishing discovery

training and review protocols; analyzing millions of pages of documents produced

by Defendants; establishing centralized document and work-product platforms;

drafting and serving initial written discovery on Defendants and Third-Parties;

interviewing, retaining and preparing world-renown experts in the fields of

epidemiology, gynecologic oncology, toxicology, cell biology, genetics, materials



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analysis, Raman spectroscopy, geology, pathology, fragrances, and cosmetic

regulations; producing expert reports; preparing these experts for depositions; and

having some of these expert witnesses provide testimony at the Daubert hearing on

general causation before the Court during July 2019. In connection with the Daubert

hearings the PSC performed extensive legal research and drafted thousands of pages

of briefs, both challenging Defendants’ experts and defending the PSC’s experts.

Following the Daubert hearing, the Court requested counsel to prepare and submit

additional briefing in support of their positions, which the PSC accomplished.

       In addition to the many thousands of hours of attorney and staff time, the

work performed by the PSC and the common benefit attorneys, this litigation has

required a substantial financial investment of money to pay for the expenses of the

litigation, with no guarantee of any recovery or reimbursement of the expenses

advanced. And this is only the start. As the litigation moves into the next phase, it is

anticipated that additional funds will be spent in relation to the substantial time and

efforts that will be undertaken to prepare and try bellwether cases. In addition, to

fulfil its charge as a leadership committee, the PSC will devote considerable time

and expense to prepare the common benefit work product (i.e., the trial package) to

ensure that plaintiffs whose cases are remanded to their Transferor Courts have the

necessary general causation and liability evidence to litigate their cases.




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      Due to these extensive work efforts, financial investments and the future work

that remains to be completed, the PSC respectfully submits that the litigation has

advanced to the point that it is necessary and appropriate to establish a common

benefit fund and to establish an assessment percentage to be levied against cases to

create a fund by which to compensate counsel for their common benefit time and

reimburse counsel for their common benefit expenses. To that end, the PSC submits

proposed Case Management Order No. 7(A) (“CMO 7(A)”) with an attached

proposed Participation Agreement that will be a pre-requisite to counsel having

access to the common benefit work product that is created in this MDL.

II.   THE PROPOSED COMMON BENEFIT ORDER
      Proposed CMO 7(A):

         • creates a procedure for plaintiffs’ counsel to execute a
           Participation Agreement through which counsel may obtain
           access to the common benefit work product;

         • sets an “early participation” assessment amount of 8% (6% fees
           and 2% costs) for counsel who execute a Participation
           Agreement within certain time frames;

         • sets “late participation” assessment amount of 12% (10% fees
           and 2% costs) for counsel who execute a Participation
           Agreement at a date after eligibility for the “early participation”
           assessment has expired for a particular attorney;

         • requires Defendants to hold back the assessment amounts from
           any settlements or other recoveries until they ascertain from the
           PEC if the case is one that is subject to assessment and if so at
           what assessment percentage; and,



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          • establishes procedures for establishing and administering bank
            accounts for the common benefit fund.

       The purpose of proposed CMO 7(A) is to: (1) establish fee and expense funds

and to preserve them until the Court later determines eligibility for common benefit

fees and cost reimbursement; (2) to avoid unnecessary conflicts and expense,

conserve judicial resources, and expedite the disposition of all cases by enabling the

coordination of this MDL with cases separately pending in state courts that are also

litigating claims involving Johnson’s Baby Powder and/or Shower to Shower

products (“Talcum Powder Products”) which share common issues and involve

common discovery; (3) to provide for the fair and equitable sharing among Plaintiffs

and their counsel of the burden of services performed and expenses incurred by

attorneys acting for the common benefit of all Plaintiffs in this complex litigation;

and (4) to enable Plaintiffs’ attorneys who desire to obtain the work-product of the

PSC and the work-product of others who perform common benefit work in the MDL

and state court to obtain same in a manner that is consistent with the below

provisions (collectively, and as defined infra, the Common Benefit Work Product

“CBWP”), upon an agreement by the signatory Plaintiffs’ attorneys that the claims

of their clients, whether filed or unfiled, shall be subject to an assessment that will

fund the Talc Common Benefit Fee Account (“TCBFA”) and fund a second fund

designated the Talc Common Benefit Expense Account (“TCBEA”).




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III.   ARGUMENT

       A.    The Court Has Well-Established Authority to Establish a Common
             Benefit Fund

       For more than a century, the Supreme Court has recognized both the equitable

imperative and practical necessity of providing judicially supervised and enforced

mechanisms to spread the costs of efforts undertaken for the common benefit among

all beneficiaries. See Trustees v. Greenough, 105 U.S. 527 (1881); Central Railroad

& Banking Co. v. Pettus, 113 U.S. 116 (1884); Sprague v. Ticonic National Bank,

307 U.S. 161 (1939); Mills v. Electric Auto-Lite Co., 396 U.S. 375 (1970); Boeing

v. Van Gemert, 444 U.S. 472 (1980). The resulting “common benefit doctrine”

empowers the district courts to apportion such fees and costs among all beneficiaries

as a matter of federal equity jurisdiction and is the long-standing principle that

modern MDL courts have adopted and operationalized through common benefit

orders. See, e.g., In re Bextra & Celebrex Mkt. Sales Prac. & Prod. Liab. Litig., No.

05-1699, 2006 WL 471782, at *1 (N.D. Cal. Feb. 28, 2006); In re Chinese-

Manufactured Drywall Prod. Liab. Litig., No. CV 09-4115, 2020 WL 128589, at

*25 (E.D. La. Jan. 10, 2020).

       The entry of common benefit orders by MDL courts has long been approved

as a case management exercise, arising not only from the courts’ equity jurisdiction

under the common benefit doctrine, but also from the additional authority of MDL

courts to assess common benefit fees and costs that “comes from the inherent

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‘managerial’ power over the consolidated litigation.” In re Cook Medical, Inc.,

Pelvic Repair Systems, 365 F. Supp. 3d 685, 695 (MDL No. 2440) (S.D.W.V. 2019)

(citing cases).3 A trial court has managerial power that has been described as “the

power inherent in every court to control the disposition of the causes on its docket

with economy of time and effort for itself, for counsel, and for litigants.” Landis v.

North American Co., 299 U.S. 248, 254 (1936), as cited in Florida Everglades, 549

F. 2d at 1012.

      B.     The Requested Common Benefit Fee Assessment Is Fair and
             Reasonable

      The requested fee assessment of 6% for the “Early Participation” counsel is

well within the norm for large and complex multidistrict litigation.4 In proposing




3
 See also In re MGM Grand Hotel Fire Litig., 660 F. Supp. 522, 525-29 (D. Nev.
1987); In re Air Crash Disaster at Florida Everglades on December 29, 1972, 549
F.2d 1006, 1019-21 (5th Cir. 1977); In re Zyprexa Prods. Liab. Litig. (MDL No.
1596), 467 F. Supp. 2d 256, 265-267 (E.D.N.Y. 2009); In re Sulzer Hip Prosthesis
and Knee Prosthesis Prods. Liab. Litig., 268 F. Supp. 2d 907 (N.D. Ohio 2003),
affirmed, 398 F.3d 778 (6th Cir. 2005); In re Genetically Modified Rice Litig., No.
06-1811, 2010 WL 716190, at *4 (E.D. Mo. Feb. 24, 2010) (“An MDL court's
authority to establish a trust and to order compensations to compensate leadership
counsel derives from its ‘managerial’ power over the consolidated litigation, and, to
some extent, from its inherent equitable power.”). Manual for Complex Litigation §
14.215 (4th ed., Federal Judicial Center 2004)).
4
 In the event of a global settlement (partial or full), or other settlement program with
respect to MDL 2738 including a settlement program that also includes unfiled
claims and/or cases filed in state court, such as a global private settlement program,
a settlement class action or any other form of a global settlement, the PSC and
Common-Benefit Attorneys may determine as appropriate under the circumstances

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this percentage, the PSC considered several factors including: the substantial time

and effort that has occurred and will be necessary to prosecute the litigation; the

complexity of the legal issues; the number of cases filed in the MDL and state court

proceedings; the complexity and cost of discovery; the reasonable values of various

types of cases in the litigation; the likelihood and timing of any potential settlement

and the percentages adopted and results obtained in other similar cases.

Furthermore, the assessment percentage has been agreed to by the entire PSC, all of

whom will be subject to the assessment for filed and unfiled cases in which they

have individual representation agreements, including many filed in state court.5

       A fee assessment of 6% falls in the lower range of fee assessments granted

in other MDLs6:



to apply to the Court for attorneys’ fees and reimbursement of expenses at a
percentage that is different from (greater or lesser) than the assessment percentage.
5
  There is one exception that the PSC discloses to the Court. The Lanier Law Firm,
which is a member of the PEC, had tried to a verdict the case of Ingham, et al. v.
Johnson & Johnson, et al., Cause No. 1522-CC10417-01 (Circ. Court of City of St.
Louis, Missouri). Upon discussion by all members of the PSC, the PSC has
unanimously agreed with The Lanier Law Firm, that the Ingham case will not be
subjected to the MDL assessment, except any portion of the case that comes into the
MDL following a decision by the Missouri appellate court. The PSC also agreed
with The Lanier Law Firm that all other cases in which The Lanier Law Firm has an
interest – MDL, state, filed, and unfiled – will be assessed and that Ingham-related
expenses and hours will not qualify for common benefit consideration unless the
case comes into the MDL and is assessed.
6
  The PSC stand ready to provide the Court with copies of the orders referenced in
the chart in the text should the Court wish to review them in detail.

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 Case                             MDL         Assessment
                                  No.
 In Re: Aqueous Film-Forming      2873        (9% assessment; 6% for attorneys'
 Foams Products Liability                     fees; 3% for costs)
 Litigation
 In Re: Avandia Marketing,        1871        (7% assessment; 4% for attorneys’
 Sales Practices and Products                 fees; 3% for costs)
 Liability Litigation
 In re Bausch & Lomb Contact      1785        (ReNu and MoistureLoc PI claims -
 Lens Solution Products                       6% assessment; 4% for attorneys’
 Liability Litigation                         fees; 2% for costs)
 In re Baycol Products            1431        (6% assessment; 4% for attorneys’
 Litigation                                   fees; 2% for costs)
 In Re: Benicar® (Olmesartan)     2606        (8% assessment; 6% for attorneys’
 Products Liability Litigation                fees; 2% for costs)
 In Re: Diet Drugs                1203        (9% assessment in MDL)
 (Phentermine/Fenfluramine/                   (6% assessment in state court)
 Dexfenfluramine) Product
 Liability Litigation
 In Re: Gadolinium Based          1909        (6% assessment; 5% for attorneys’
 Contrast Agents Products                     fees; 1% for costs)
 Liability Litigation
 In Re: Fresenius                 2428        (9% assessment; 7% for attorneys’
 Granuflo/Naturalyte Dialysate                fees; 2% for costs)
 Products Liability Litigation
 In Re: Heparin Products          1953        (6% assessment; 3% for attorneys’
 Liability Litigation                         fees; 3% for costs)
 In Re: Invokana                  2750        Diabetic ketoacidosis Injury with
 (Canagliflozin) Products                     resolution before 5/31/2017 – 7%
 Liability Litigation                         assessment; 5% for attorneys’ fees;
                                              2% for costs
                                              Diabetic ketoacidosis injury with
                                              resolution before 7/15/2017 - 9%
                                              assessment; 7% for attorneys’ fees;
                                              2% for costs

                                              Diabetic Ketoacidosis injury with
                                              resolution after 7/15/2017 – 12%



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                                                assessment; 9% for attorneys’ fees;
                                                3% for costs

                                                Other injury with resolution after
                                                3/31/2017 – 12% assessment; 9%
                                                attorneys’ fees; 3% costs

                                                Diabetic ketoacidosis claims with
                                                resolution before 4/2/2017, 5%
                                                assessment; 3% attorneys’ fees; 2%
                                                costs
 In Re: Pradaxa (Dabigatran         2385        6% assessment; 4% for attorneys’
 Etexilate) Products Liability                  fees; 2% for costs
 Litigation
 In Re St. Jude Medical Inc.,       1396        6% assessment
 Silizone Heart Valves Products
 Liability Litigation
 In Re: Testosterone                1748        (Increases if participation agreement is
 Replacement Therapy Products                   not executed) 10% assessment; 8% for
 Liability Litigation                           attorneys’ fees; 2% for costs
 In Re: Tylenol                     2436        19% assessment; 10% for attorneys’
 (Acetaminophen) Marketing,                     fees; 9% for costs
 Sales Practices and Products
 Liability Litigation
 In Re: Vioxx Products Liability    1657        3% assessment; 2% for attorneys’
 Litigation                                     fees; 1% for costs

                                                Subsequently increased to 6%
                                                assessment.
 In Re: Yasmin and Yaz              2100        Early participation – 6% assessment;
 (Drospirenone) Marketing,                      4% for attorneys’ fees; 2% for costs
 Sales Practices and Relevant                   Late participation – 10% assessment;
 Products Liability Litigation                  8% attorneys’ fees; 2% for costs
 In Re: Zoloft (Sertraline          2342        5% assessment; 4% for attorneys’
 Hydrochloride) Products                        fees; 1% for costs
 Liability Litigation
 In Re: Depuy Orthopaedics,         2244        10% assessment; 7% for attorneys’
 Inc., Pinnacle Hip Implant                     fees; 3% for costs
 Products Liability Litigation


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    In Re: Juul Labs, Inc.,          2913        Early participation- 7% assessment; 5
    Marketing, Sales Practices,                  for attorneys’ fees; 2% for cost
    And Products                                 Late participation – 10% assessment;
    Liability Litigation                         8%for attorneys’ fees; 2% for costs.

         It is also standard and reasonable to apply a higher assessment to counsel who

do not agree to having their cases assessed until a later date to discourage attorneys

from a wait-and-see approach to common discovery.7

         The PSC has worked diligently and has extensive efforts invested in this case

to date, and when coupled with the efforts to be expended in the future, the work of

the PSC more than supports a 6% assessment.

         C.    The Requested Common Benefit Cost Assessment Is Fair and
               Reasonable

         The Talc Litigation Fund was originally established pursuant to CMO 7

through contributions by members of the PEC and PSC in order to pay for shared

common expenses of the litigation. To date, the PEC and PSC has spent a



7
  See, e.g., In re Syngenta AG MIR 162 Corn. Litig., No. 14-2591, 2015 WL
2165341, at *6 (D. Kan. May 8, 2015) (overruling objections to “different
percentages for Participating Counsel based on when such counsel signed a
participation agreement” and concluding “that there is a benefit to encouraging early
participation in the common benefit scheme”); Bextra, Dkt. No. 2507 (specifying
higher assessment for later participation); In re General Motors LLC Ignition Switch
Litig., No. 14-2543, Dkt. No. 743 (S.D.N.Y. Mar. 26, 2015) (same); In re Guidant
Defibrillators Prod. Liab. Litig., No. 05-1708, 2006 WL 409229, at *3 (D. Minn.
Feb. 15, 20067) (same); In re Yaz Prods. Liab. Litig., MDL No. 2100 (S.D. Ill.); In
Re: Testosterone Replacement Therapy Products Liability Litigation, MDL No.
1748 (N. D. Ill.); In Re: Juul Labs, Inc., Prod. Liab. Lit., Dkt 586 at para. 37(N.D.
Cal).

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considerable amount of money on litigation expenses from the Talc Litigation Fund.

The vast majority of these expenses to date are associated with the establishment of

a document repository and the utilization of a third-party vendor to assist with the

collection, sorting and review of documents produced by Defendants; the costs the

PSC incurred that were associated with retaining expert witnesses and in proffering

expert reports; the costs associated with deposing expert witnesses; and the expenses

associated with the Daubert hearing. In addition to the shared costs paid through the

Talc Litigation Fund, to date the PEC and PSC firms and common benefit attorneys

have separately incurred unreimbursed expenses for the common benefit of the

MDL. Additional expenses will also be incurred by the common benefit attorneys as

they continue to see a just resolution of this litigation including for fact witness and

30(b)(6) depositions and bellwether trials.

      The requested 2% cost assessment is standard in similar MDLs.8




8
  See In re: Xarelto, 2020 WL 1433923, *10 (2.75% costs assessment); In re: E.I.
Du Pont de Nemours & Co. C-8 Personal Injury Litig., No. 13-2433, 2018 WL
4771524, at *5 (S.D. Ohio Oct. 3, 2018) (citing common benefit orders assessing
3%); In re: Aqueous Film-Forming Foams Prod. Liab. Litig., MDL No. 18-2873,
Doc. 72 at 16 (D.S.C. April 26, 2019) (3%); Bair Hugger, Dkt. No. 47 (2%); Bard,
Dkt. No. 372 (2%); Fresenius, Dkt. No. 865 (2%); Testosterone, Dkt. No. 488 (N.D.
Ill. November 25, 2014) (2%); Rice, Dkt. No. 2754 (3%); Bextra, Dkt. No. 2507
(2%).

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      D.      This Court Has Authority to Assess a Common Benefit
              Reimbursement Fee Against State Court Claimants and their
              Attorneys Who Have Benefited from the Work of the PSC
              Provided They Have Consented to the Assessment

      Proposed CMO 7(A) applies to several types of claims:

           • All cases now or hereafter subject to the jurisdiction of this
             Court;

           • All cases now or hereafter subject to the jurisdiction of this Court
             in this MDL litigation, regardless of whether the case is resolved
             while the case is pending before this Court or is resolved after a
             remand from this Court to the transferor federal court;

           • All cases and/or claims settled pursuant to an MDL-supervised
             settlement agreement between the parties, which may include
             cases in any state court and claims that are not filed but
             participate in any MDL-supervised settlement agreement;

           • All cases and/or claims of any of the ovarian cancer clients of
             any counsel who signed or are deemed to have signed the
             “Participation Agreement” that is attached to this Order as
             Exhibit A hereto, whether case was filed, unfiled or tolled,
             including cases filed in state court; and,

           • All cases and/or claims of any ovarian cancer clients of any
             counsel who received, used, or benefited from the Common
             Benefit Work Product.

(Proposed CMO 7(A), ¶ 4).

      Attached as Exhibit “A” to proposed CMO 7(A) is a Participation Agreement

which enables Plaintiff’s attorneys who desire to obtain the work-product of the PSC

and of others who perform common-benefit work (including participating state court

attorneys) an opportunity to obtain such work. (Proposed CMO 7(A), ¶ 4(c)).




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      Attorneys who choose not to execute the Participation Agreement but file and

or otherwise have cases in the MDL (such as through removal and/or transfer or for

other reasons) are permitted to receive the Common Benefit Work Product but they

may utilize it in their MDL filed cases only. (Proposed CMO 7(A) ¶ 18). The MDL

filed cases will be assessed regardless of whether the counsel executes the

Participation Agreement but such counsel are not to use the Common Benefit Work

Product for any of their state cases or unfiled cases and because they did not execute

the Participation Agreement, the percentage assessment will be at the “Late

Participation” rate, as a failure to timely execute the Participation Agreement by the

deadline date for “Early Participation” necessarily defaults to the “Late

Participation” rate. However, in the event it is determined that such counsel in some

fashion or in any manner utilized the Common Benefit Work Product on behalf of

cases and/or clients that are not filed cases in the MDL, in any manner whatsoever,

then all cases and claims of such counsel, whether filed or not, shall be subject to the

assessment at the Late Participation rate. (Proposed CMO 7(A), ¶ 24).

      Counsel who choose not to execute the Participation Agreement, and who

have cases filed in state court only and/or unfiled cases are not entitled to receive,

nor will they be provided access to, the Common Benefit Work Product. They also

will not be eligible to apply for a common benefit fee award nor for reimbursement

of any expenses. Only Participating Counsel are eligible to apply for common



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benefit fees and reimbursement of common benefit expenses. However, in the event

it is determined that such counsel in some or in any fashion obtained the Common

Benefit Work Product, then all cases and claims of such counsel, whether filed or

not, shall be subject to the assessment regardless of whether the counsel executed

the Participation Agreement, at the Late Participation rate. (Proposed CMO 7(A), ¶

24).

       The reason for the structure described as to which cases/claims and unfiled

matters shall be assessed is that the Common-Benefit Work Product is, as the name

connotes, “work product.” Accordingly, it is properly protected from “free” use.

       As a matter of equity, state court Plaintiffs and their attorneys should be

assessed to the extent that they benefit from much of the work performed by the PSC

and other common-benefit attorneys. As the court in Zyprexa noted, requiring state

plaintiffs’ attorneys to pay their proportionate share of the time and costs incurred

by the PSC in its work for the benefit of all plaintiffs:

             would avoid the troubling potential for attorney conflict of
             interests that otherwise would exist: Attorneys face distorted
             incentives to file cases in state courts without respect for the best
             interests of their clients because attorneys can use [the PSC’s]
             work without paying for it out of their fees when in state court,
             but would have to pay their fair share if they were in federal
             court.




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467 F.Supp.2d at 269. Thus, as a matter of equity, a state court attorney who benefits

from the work of the common-benefit attorneys should contribute her proportionate

share into the common-benefit fund.

      Proposed CMO 7(A) facilitates federal-state cooperation and coordination by

tying the assessment to consent and voluntary acceptance of the fruits of common

benefit work. The proposed order applies to several types of cases: (1) those subject

to this Court’s jurisdiction because their counsel has a case pending in the MDL and

(2) any other case where counsel accept the benefits of common work product. See,

e.g., In re Avandia Mkt., Sales Prac., & Prods. Liab. Litig., No. 07-1871, 2015 WL

4480827, at *3-7 (E.D. Pa. July 21, 2015) (upholding assessment on state-court

settlement where counsel accessed common benefit work product).

      Aside from equity supporting this Court’s assessment of cases pending in state

court and unfiled cases where the plaintiff/claimant, there are other means by which

the assessment can be ordered. At a minimum, this MDL Court has the authority to

assess state court plaintiffs that have agreed to the assessment. This is the most

common method by which federal courts have ordered that a common-benefit

assessment be applied to state court cases. See, e.g., May 21, 2008 Order, In re

Bausch & Lomb, MDL 1785 (D.S.C. 2008) (stating that common-benefit assessment

applies to “any state court or unfiled case where the plaintiff’s attorney and/or his or

her firm has executed an agreement to cooperate with the MDL and to pay the



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assessment”); see also In re Linerboard Antitrust Litig., 292 F.Supp.2d 644, 665

n.12 (E.D. Pa. 2003) (noting in dicta that a common-benefit fund assessment could

be applied to state court plaintiffs “by agreement of the parties”).

      E.     Defendants Should Be Required to Withhold and Deposit
             Assessments into the Common Benefit Fund

      Because defendants are the only parties with complete knowledge of the

universe of settlements and access to every dollar of any settlement, it is standard

for MDL courts to require Defendants to hold back assessment amounts from any

settlement unless they are told by Plaintiffs’ Co-Lead Counsel that a case is not

subject to assessment after consulting with Plaintiffs’ leadership counsel.9 This is

the standard procedure that has been implemented by courts in this district and by



9
   The PSC recognizes that the Court has jurisdiction at this time only over
Defendants Johnson & Johnson; Johnson & Johnson Consumer, Inc and PCPC, in
that Talcum Powder Products cases and claims that are pending against Defendant
Imerys are now part of the proceedings against Imerys in the United States
Bankruptcy Court in Delaware. In those bankruptcy court proceedings, there is a
Tort Claimants Committee which, inter alia, is representing the interests of the
Talcum Powder Product claimants in that bankruptcy. To the extent those
bankruptcy proceedings result in a recovery for Talcum Powder Product Claimants,
the PSC expects that such recovery would be assessed pursuant to a process to be
established by the bankruptcy court, possibly in conjunction with this MDL Court.
However, the attorneys in this MDL who execute the Participation Agreement whose
clients also have claims in the Imerys bankruptcy, are agreeing through their
execution of the Participation Agreement that an Attorney’s Lien is also being
created against the attorney in the percentage of the assessment as to any recovery a
claimant is entitled to receive in the Imerys bankruptcy proceedings. This Court has
jurisdiction over the attorney for the enforcement of an Attorney’s Lien even if this
Court does not have jurisdiction over Imerys because of its status as a bankrupt.

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multiple courts around the country in similarly complex MDLs. See In re Invokana

(Canagliflozin) Prods. Liab. Litig., MDL 2750 (D.N.J.) (“Defendants are directed to

withhold an assessment from any and all amounts paid to plaintiffs and their counsel

and to pay the assessment directly into the Funds as a credit against the settlement

or judgment.”); In re Benicar (Olmesartan) Prods. Liab. Litig., MDL 2606 (D.N.J.)

(“In the event of any settlement or judgment encompassing claims concerning

injuries alleged in this MDL, Defendants are directed to withhold the Assessment

Amount from, the amount paid in settlement or to satisfy a judgment, and to pay the

Assessment Amount for distribution to the Plaintiff’s Steering Committee Fund”).10


10
   The PSC stands ready to provide the Court with copies of the following should
the Court wish to review them in detail: In re Avandia Prods. Liab. Litig., MDL
1871, Dkt. No. 495 (E.D. Pa. Aug. 26, 2009) (“Defendant is directed to withhold the
assessment from amounts paid on any Covered Claim and to pay the assessment
directly into the Fund as a credit against the Settlement or Judgment. If for any
reason the assessment is not or has not been so withheld, the Defendant as well as
the plaintiff and his or her counsel are jointly and severally responsible for paying
the assessment into the Fund promptly); In re Tylenol Prods. Liab. Litig, MDL 2436
(E.D. Pa.) “Defendants are directed to withhold the Assessment from the amounts
paid on any Covered Claim and to pay the Assessment directly into the MDL 2436
Fund…”; In re Gadolinium Prods. Liab. Litig., MDL 1909 (N.D. Ohio) (“For cases
subject to an assessment, defendants are directed to withhold an assessment from
any and all amounts paid to plaintiffs and their counsel and to pay the assessment
directly into the Funds as a credit against the settlement or judgment.”); In re Vioxx
Prods. Liab. Litig., MDL 1657 (E.D. La.) (“Defendants are directed to withhold this
assessment from amounts paid to plaintiffs and their counsel, and to pay the
assessment directly into the fund as a credit against the settlement or judgment.”);
In re Prempro Prods. Liab. Litig. (HRT), MDL 1507 (E.D. Ark.) (“Before making
any claim to a personal injury plaintiff whose claim has been resolved in federal
court, defendants shall deduct from the payment an amount equal to five percent
(5%) of the gross amount and shall pay such sum as hereinafter provided for deposit

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into the MDL 1507 Fee and Cost Trust Account.”); In re Baycol Prods. Liab. Litig.,
MDL 1431 (D. Minn.) (“Before making any claim payment to a plaintiff or claimant
to whom this Order applies, defendants shall deduct from such payments an amount
equal to six percent (6%) of the aggregate amount being paid…”); In re Bextra and
Celebrex Prods. Liab. Litig., MDL 1699 (N.D. Cal.) (“Defendants are directed to
withhold the amount of this assessment from any amounts paid to plaintiffs and their
counsel, and to pay the assessment directly into the common benefit fund as a credit
against the settlement or judgment.’ In re Yaz Prods. Liab. Litig., MDL 2100 (S.D.
Ill.) (“For cases subject to an assessment, defendants are directed to withhold the
assessment from any and all amounts paid to plaintiffs and their counsel and to pay
the assessment directly into the Funds as a credit against the settlement or judgment.
No orders of dismissal of any plaintiff’s claim, subject to this Order, shall be entered
unless accompanied by a certificate of plaintiff’s and defendant’s counsel that the
assessment, where applicable, will be withheld and will be deposited into the Funds
at the same time the settlement proceeds are paid to settling counsel. If for any reason
the assessment is not or has not been so withheld, the plaintiff and his counsel are
jointly responsible for paying the assessment into the Fund promptly”); In re
Gadolinium Prods. Liab. Litig., MDL 1909 (N.D. Ohio) (“For cases subject to an
assessment, defendants are directed to withhold an assessment from any and all
amounts paid to plaintiffs and their counsel and to pay the assessment directly into
the Funds as a credit against the settlement or judgment.”); In re Bausch & Lomb
Contact Lens Solution Prods. Liab. Litig., MDL 1785 (D.S.C) (“For all cases in
which a settlement was or is entered into, or a judgment was or is paid, beginning
April 8, 2008 and going forward, defendant is directed to withhold this assessment
from any amounts paid to a plaintiff and her counsel…”); In re Guidant
Defibrillators Prods. Liab. Litig., MDL 1708 (D. Minn.) (“Defendants are directed
to withhold the amount of this assessment from any amounts paid to plaintiffs and
their counsel, and to pay the assessment directly into the common benefit fund as a
credit against the settlement or judgment.” In re Rezulin Prods. Liab. Litig., MDL
1348 (S.D.N.Y.) (“Before making any Claim Payment, each paying defendant shall
deduct therefrom and pay to the Clerk for deposit to the CRIS Account the Escrow
Amount.”); In re Protegen Sling and Vesica Sys. Prods. Liab. Litig., MDL 1387
(N.D. Md.) (“Defendants shall have primary responsibility for withholding nine
percent (9%) of the claim payments and tendering such sums to the MDL 1387 Fee
and Cost Account.”); In re Propulsid Prods. Liab. Litig., MDL 1355 (E.D. La.)
(“Defendants are directed to withhold this assessment from amounts paid to
plaintiffs and their counsel, and to pay the assessment directly into the fund as a
credit against the settlement or judgment.”); In re Diet Drug Prods. Liab. Litig.
(Fen/Phen), MDL 1203 (E.D. Pa.) (“Defendants shall have primary responsibility

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for withholding nine percent (9%) of the claim payments and tendering such sums
to the MDL 1203 Fee and Cost Account.”); In re Latex Gloves Prods. Liab. Litig.,
MDL 1148 (E.D. Pa.) (“Defendants are hereby authorized and directed to pay all
withheld amounts promptly and directly into the Escrow Fund at the time of payment
of the settlement or judgment or other recovery.”); In re Orthopedic Bone Screw
Prods. Liab. Litig., MDL 1014 (E.D. Pa.) (“Each MDL 1014 defendant, before
making any claim payment to any plaintiff, shall deduct from such payment an
amount equal to 5% of the aggregate amount being paid, and any amounts to be paid
in the future; and shall pay such sum as hereinafter provided for deposit into the
MDL 1014 PLC Costs Account.”); In re Silicone Gel Breast Implants Prods. Liab.
Litig., MDL 926 (N.D. Ala) (“Defendants are directed to withhold this assessment
from amounts paid to plaintiffs and their counsel, and to pay the assessment into the
fund as a credit against the settlement or judgment.”); In re Pradaxa (Dabigatran
Etexilate) Prods. Liab. Litig, MDL 2385 (S.D. Ill.) (“For cases subject to an
assessment, Defendants are directed to withhold an assessment from any and all
amounts paid to plaintiffs and their counsel and to pay the assessment directly into
the Funds as a credit against the settlement or judgment.” In re: C.R. Bard, Inc., PTO
# 84, at pp. 4-5, MDL No. 2187 (S.D.W.Va. August 16, 2013) (“Defendants are
directed to withhold the Assessment from amounts paid on any Covered Claim and
to pay the Assessment directly into the MDL 2187 Fund as a credit against the
Settlement or Judgment. If for any reason the Assessment is not or has not been so
withheld, the Defendants as well as the plaintiff and his or her counsel are jointly
responsible for paying the Assessment into the MDL 2187 Fund promptly.” In re:
American Medical Systems, Inc., PTO # 77, at pp. 4-5, MDL 2325 (S.D.W.Va.
August 26, 2013) (“Defendants are directed to withhold the Assessment from
amounts paid on any Covered Claim and to pay the Assessment directly into the
MDL 2325 Fund as a credit against the Settlement or Judgment. If for any reason
the assessment is not or has not been so withheld, the Defendants as well as the
plaintiff and his or her counsel are jointly responsible for paying the assessment into
the MDL 2325 Fund promptly.” In re: Boston Scientific Corp., PTO # 52, at pp. 4-
5, MDL 2326 (S.D.W.Va. August 26, 2013) (“Defendants are directed to withhold
the Assessment from amounts paid on any Covered Claim and to pay the Assessment
directly into the MDL 2326 Fund as a credit against the Settlement or Judgment. If
for any reason the Assessment is not or has not been so withheld, the Defendants as
well as the plaintiff and his or her counsel are jointly responsible for paying the
assessment into the MDL 2326 Fund promptly.” In re: Ethicon, Inc., PTO # 62, at
pp. 4-5, MDL 2327 (S.D.W.Va. August 26, 2013) (“Defendants are directed to
withhold the Assessment from amounts paid on any Covered Claim and to pay the
Assessment directly into the MDL 2327 Fund as a credit against the Settlement or

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In each of the above-referenced orders, the Defendants were directed to withhold the

assessment from amounts paid to any plaintiff and to deposit the assessment into the

common-benefit fund.

      The commonality of this practice demonstrates that the procedure works to

avoid complications rather than create further disputes. Under proposed CMO 7(A)

the Defendants would not be required to police the funds or incur any increased

burden. Rather, the Order sets forth the following straight-forward process. Prior to

distributing any settlement to a Plaintiff’s counsel, Defendants will notify the PEC

in writing regarding the existence of a settlement and the name of the individual

Plaintiff’s attorney. (Proposed CMO 7(A), ¶ 29). The PEC will then advise the

Defendants’ counsel in writing as to whether the individual Plaintiff’s attorney’s

cases or claims are subject to the assessment. Id. If Plaintiffs’ Co-Lead Counsel

notifies a Defendant that the claim falls within the scope of the Order, the settling

Defendant would deposit the assessment percentage of the settlement into the fund.



Judgment. If for any reason the Assessment is not or has not been so withheld, the
Defendants as well as the plaintiff and his or her counsel are jointly responsible for
paying the assessment into the MDL 2327 Fund promptly.” In re: Aqueous Film-
Forming Foams Prod. Liab. Litig., MDL No. 2:18-mn-2873-RMG, Doc. 72 at p. 16
(D.S.C. April 26, 2019) (“Defendants are, therefore, directed to withhold this
amount from any and all amounts paid to plaintiffs and their counsel and to pay the
assessment directly into the interest bearing accounts that will be established by a
future order.’).

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Id. Once the assessment is deposited into the fund, Defendants are absolved of all

liability with respect to the assessed amount. To the extent that the plaintiff or

plaintiff’s attorney has any objection to the assessment, the proposed CMO directs

the aggrieved party to seek recourse against the fund. Thus, under the current

proposed CMO 7(A), Defendants will not be obligated to police, monitor, or bear

any responsibility for assessments deposited in the fund. Rather, needless

complication and dispute will be avoided by insuring that any legitimately assessed

amounts need only travel from point A to B rather than from A to C to B. Based on

the common use of this procedure in many similarly complex products liability

MDLs, the Court should be reassured that the process has been tested and approved.




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III.   CONCLUSION

       For the reasons set forth in this motion, the PSC, respectfully request that the

Court enter the proposed Common Benefit Order, CMO 7(A), submitted with this

Motion.

Dated:       May 29, 2020                      Respectfully submitted,

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